 Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.1 Filed 03/01/21 Page 1 of 15




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

MIA BENNETT

             Plaintiff
v.                                            Case No.

HURLEY MEDICAL CENTER                         Hon.

             Defendant

__________________________________________________________________
 Nicholas Roumel (P37056)
 NACHT & ROUMEL, P.C.
 Attorney for Plaintiff
 101 N. Main Street, Ste. 555
 Ann Arbor, MI 48104
 (734) 663-7550
 nroumel@nachtlaw.com
_____________________________________________________________________________________

                         COMPLAINT AND JURY DEMAND

      Mia Bennett states as follows:

                              Preliminary Statement

      Ms. Bennett is a second-year undergraduate student at the University of

Michigan Flint. She is seeking her BSN (Bachelor of Science in Nursing) and

required to complete certain rotations at teaching hospitals. She is also a person with

a disability who requires a service dog. Defendant refuses to accommodate Ms.

Bennett’s service animal, in violation of the Americans with Disabilities Act.


                                          1
 Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.2 Filed 03/01/21 Page 2 of 15




                      PARTIES/JURISDICTION/ VENUE

      1.     Plaintiff Mia Bennett (“Mia,” “Ms. Bennett”) is a resident of Flint,

Genesee County, Michigan.

      2.     Defendant Hurley Medical Center (“Hurley”) is a non-profit hospital

owned by and located in the City of Flint with its principal offices located at One

Hurley Plaza, Flint, Michigan, 48503.

      3.     The jurisdiction of this court is invoked pursuant to Subtitle A of Title

II of the Americans with Disabilities Act of 1990, 42 U.S.C. 12131 (the “ADA”).

      4.     The state law claims in this lawsuit are based on violations of

Michigan’s Persons with Disabilities Civil Rights Act, MCL § 37.1101 et seq. (the

“PWDCRA”)

      5.     This Court has subject matter jurisdiction over federal claims pursuant

to 28 U.S.C. § 1331 and over state claims pursuant to 28 U.S.C. § 1367.

      6.     Venue is proper in the Eastern District of Michigan as all parties are

located within of the Eastern District of Michigan and the events described in this

lawsuit took place primarily in the Eastern District of Michigan.




                                          2
    Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.3 Filed 03/01/21 Page 3 of 15




                               FACTUAL ALLEGATIONS

                                       Mia’s Disability

         7.     Mia has been diagnosed with general anxiety disorder with a history of

panic attacks.

         8.     Her service dog, “Pistol,” is a Pembroke Welsh Corgi who is trained to

sense and avoid an impending panic attack. For example, he can detect a rise in

Mia’s heart rate among other anxious behaviors, such as nervous repetitive

movements. Pistol is trained to interrupt those behaviors, such as by jumping on

Mia’s leg. When he does this, Mia is reminded to take medication to forestall the

panic attack.

         9.     The medication, Ativan, is effective at preventing panic attacks.

However, it also causes side effects such as drowsiness, dizziness, loss of

coordination, headache, nausea, and blurred vision. 1 For that reason, Mia tries to

avoid taking Ativan as much as possible in the hospital setting, where she seeks to

remain as alert and oriented as possible in the course of assisting with patient care.

         10.    If she does not have Pistol by her side, Mia has little choice but to either

take the risk of a panic attack, or to proactively take an Ativan and endure the side

effects described above. This is less than ideal and precisely the reason she requires

the service animal.


1
    https://www.webmd.com/drugs/2/drug-6685/ativan-oral/details
                                               3
 Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.4 Filed 03/01/21 Page 4 of 15




      11.    Her medical provider has stated, “[Mia’s] anxiety attacks can come on

quickly with little to no apparent warning. Her service animal will alert her to

physiological signs of an episode that allow her to take steps to avoid a panic attack.”


                                  Hurley’s Policies

      12.    Hurley Medical Center describes itself as a “public teaching hospital”

maintaining affiliations with the University of Michigan, among many other

educational institutions. [https://www.hurleymc.com/about-us/mission-and-history]

It maintains an ADA compliant policy regarding service animals. [Exh A]

      13.    Under that policy, a service animal is permitted to accompany the

person throughout the facility if it performs work “directly related to the individual’s

disability.” Examples of such work include what Pistol does for Mia: “assistant an

individual during a seizure, … or helping persons with psychiatric and neurological

disabilities by preventing or interrupting impulsive or destructive behaviors.”


                                  Mia’s Education

      14.    Ms. Bennett is a second-year undergraduate student at the University

of Michigan Flint’s campus (“UM Flint”).

      15.    She is seeking her BSN (Bachelor of Science in Nursing) and required

to complete certain rotations at teaching hospitals.




                                           4
 Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.5 Filed 03/01/21 Page 5 of 15




      16.    In connection with her studies, she was assigned to commence a

rotation at Hurley for the fall, 2020 semester.

      17.    It is important to bear in mind that Mia’s presence at Hurley was only

once weekly, for a four-hour shift on Wednesdays from 7 – 11 AM.

      18.    She was to be placed at 7th Floor East. Her duties would be under the

supervision of Shannon Ash (a UM faculty member).

      19.    At the end of the semester, she would be evaluated by Ms. Ash.

      20.    The rotation would be used as a “building block” for future rotations.

In other words, what Mia learned at the fall, 2020 rotation at Hurley was intended to

give her the skills and experience necessary to successfully complete future rotations

at Hurley and other teaching hospitals.


                             Mia’s Accommodation Request

      21.    When Mia began her rotation at Hurley in September, 2020, her

accommodation request was approved. She received an email stating as follows:




                                          5
 Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.6 Filed 03/01/21 Page 6 of 15




            From: Summer Jenkins <sjenkin1@hurleymc.com>
            Date: Tue, Sep 8, 2020 at 1:19 PM
            Subject: ADA approved
            To: <Bennetmm@umich.edu>

            Hello Mia,

            Your accommodation request has been approved and includes:

                 • Utilization of trained service dog throughout the course of
                     training.
                 • Periodic bathroom breaks for service dog.
                 • Upon alert from the service dog of an episode, you may take
                     necessary steps to avoid attack.

            Use of the service dog should comply w/ Standard Practice 4050
            (attached).

            All the best,
            Summer A. Jenkins
            810-262-9476
            Human Resources - Benefits, Compensation & Recruitment



      22.     However, that status did not last long. A week later, Ms. Bennett

received another email from Ms. Jenkins that stated in relevant part:


                    Upon your placement on the 7E floor, we were made aware of
            several allergic reactions caused by the dog in both employees and
            patients, including one individual that required medical treatment. At
            that time, it was necessary to re-evaluate our ability to reasonably
            accommodate. We researched any options that would not pose a direct
            threat and would not require a fundamental alteration in the hospital's
            policies, practices, or procedures. However, we are unable to allow a
            dog on either floor where your training could occur, 7E and 9E. These are
            the only two floors where your clinical training can take place and it has
            been confirmed that there are dog allergies on both.




      23.     On information and belief, Ms. Bennett disputes Hurley’s

characterization that multiple persons were significantly affected; she acknowledges

that one staff member apparently had an allergic reaction.
                                             6
 Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.7 Filed 03/01/21 Page 7 of 15




      24.    In any event, Hurley forbade Ms. Bennett to have her service dog

accompany her during her rotation, just one week after she was approved.

      25.    This was contrary to their own policy [Exh A] which assured:

      C. Allergies/phobia: In the event that a patient or a Facility staff member is
         allergic to, or has a phobia about animals, the Facility shall further
         modify its policies, practices and procedures to permit a Service Animal
         to remain with a patient in an inpatient room by, for example, moving
         the patient to another comparable room, changing staff schedules, or
         using other nondiscriminatory methods so that the presence of the
         Service Animal would not pose a direct threat and would not require a
         fundamental alteration in the Facility's policies, practices, or procedures.
         Any patient or staff member with an allergy to animals shall provide
         verification within a reasonable time frame of request. [Emphasis added]

      24.    Here, instead of moving any affected patients or workers, Hurley

separated Mia and Pistol. They required that she “crate” Pistol and place him in an

isolated room, which she could “visit” during her shift.

      25.    By depriving Mia of the very benefit Pistol provided – sensing anxiety

attacks so that she could prevent them – Hurley not only placed Mia in danger of

suffering a panic attack, but also in doing so, violated its own policy.

      26.    With the cooperation and assistance of the University of Michigan,

Mia was able to make alternate course arrangements, but at significant hardship

and inconvenience to her.

      27.    Hurley’s violation of its own policy, and failure to accommodate

Mia’s disability, deprived her of the educational benefit of the rotation.



                                           7
 Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.8 Filed 03/01/21 Page 8 of 15




      28.    Hurley’s failure to accommodate Mia’s disability left her with the

following unsatisfactory choices: (a) not attend her rotation; (b) prophylactically

take an Ativan before her rotation, which would dull her senses and place patients

at risk; (c) attend a rotation at a different teaching hospital that would accommodate

her, but at considerable distance and inconvenience.

      29.    Although the fall, 2020 semester is over, future rotations would

typically be scheduled by UM Flint for the duration of Ms. Bennett’s educational

career. This dispute is likely to arise again.

                 Professional Standards and Recommendations

      30.    In addition to violating its own standards, Hurley is afoul of the

recommendations of other governmental and professional organizations.

      31.    For example, the United States Department of Justice Civil Rights

Division has issued “Frequently Asked Questions about Service Animals and the

ADA.” [Exh B] They have determined with no ambiguity that Pistol is a proper

service animal, stating in relevant part:

      If the dog has been trained to sense that an anxiety attack is about to happen
      and take a specific action to help avoid the attack or lessen its impact, that
      would qualify as a service animal.

      32.    Furthermore, Hurley should be required to move the person with an

allergy, rather than the disabled person, unless they can prove that would

“fundamentally alter” the services they provide:

                                            8
    Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.9 Filed 03/01/21 Page 9 of 15




        The ADA does not require covered entities to modify policies, practices, or
        procedures if it would “fundamentally alter” the nature of the goods,
        services, programs, or activities provided to the public. [Id., p. 5]

        33.   Similarly, accommodations suggested by the Job Accommodation

Network 2 all maintain the bond between the disabled person and the service

animal, even if employees are allergic to or afraid of the animal. These include:

        ❏ Allowing the employees to work in different areas of the building or in
        private offices, or to travel on different paths in the building;
        ❏ Implementing flexible scheduling so that the employees do not work
        together at the same time or do not use common areas at the same time;
        ❏ Using portable air purifiers or adding HEPA filters to the existing
        ventilation system;
        ❏ Regularly cleaning the work area, including carpets and window
        treatments;
        ❏ Asking the disabled employee to use dander-care products regularly when
        cleaning the service animal;
        ❏ Arranging alternatives to in-person communication, such as teleworking;
        ❏ Allowing allergic coworkers to take periodic rest breaks if needed to take
        medication.

        All of these accommodations are available to Hurley.




2
 Office of Disability Employment Policy Job Accommodation Network. (2011, June
17).      Service      animals    in     the     workplace.    Available      at
http://askjan.org/media/servanim.html ; Pender, K. (May 20, 2016). [Incorporated
herein by reference]
                                           9
Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.10 Filed 03/01/21 Page 10 of 15




      34.    Even more pertinent, the Journal of Professional Nursing, “Preparing

for a student with a service animal” (March 2020, Exh C) specifically addresses

the situation, as here, where a student requires a service animal in a professional

setting: “This article provides guidance to nursing programs to plan for a quality

educational experience for a student with a service animal while ensuring patient

safety and the continuation of efficient clinical operations.” [Id., p. 1]

      35.    Continuing, the article emphasizes both “the need for nursing faculty

to carefully plan to educate students with a service animal” as well as “educating

others about the rights of students with this type of animal.” [Id.] To that end, it

necessitates “Addressing allergy and fear” and admonishes, “Under ADA

guidelines, service animals may not be restricted due to allergies or fear of dogs

(DOJ, Civil Rights Division, 2009) 3 among those whom their handler encounters.”




3
  Under the updated 2010 guidelines, “Allergies and fear of dogs are not valid
reasons for denying access or refusing service to people using service animals. When
a person who is allergic to dog dander and a person who uses a service animal must
spend time in the same room or facility, for example, in a school classroom or at a
homeless shelter, they both should be accommodated by assigning them, if possible,
to different locations within the room or different rooms in the facility.”
[https://www.ada.gov/service_animals_2010.htm]


                                           10
Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.11 Filed 03/01/21 Page 11 of 15




      36.    Instead, it is suggested that the dog wear a protective therapy cape,

and that high efficiency particulate air filters be used to reduce dander in the air.

[Id., p. 2] Case examples are further provided to demonstrate various ways the

service dog may be accommodated within the hospital. [Id.]


                            LEGAL ALLEGATIONS

Count I – ADA Title II

      37.    As suggested above, the underpinnings of Ms. Bennett’s right to be

accompanied by her service dog at Hurley is in the Americans with Disabilities

Act, Title II (“ADA”).

      38.    Hurley is a public entity within the meaning of the ADA, 42 USC §

12131, 28 CFR § 35.104.

      39.    Ms. Bennett is a qualified individual with a disability within the

meaning of the ADA, 42 USC § 12131, 28 CFR § 35.104 and 28 CFR § 35.108.

      40.    Hurley is in violation of the ADA, 42 USC § 12132, 28 CFR § 35.130,

by inter alia:

      (a) Excluding Plaintiff from participation in or be denied the benefits of the
      services, programs, or activities of a public entity,

      (b) Subjecting Plaintiff to discrimination, and

      (c) Otherwise limiting Ms. Bennett in the enjoyment of any right, privilege,
      advantage, or opportunity enjoyed by others receiving the aid, benefit, or
      services offered by Hurley.


                                          11
Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.12 Filed 03/01/21 Page 12 of 15




         41.   Hurley is in violation of the ADA, 42 USC § 12132, 28 CFR §§

35.106-107 by failing to sufficiently provide required notice and information to

applicants, participants, beneficiaries, and other interested persons information

regarding its obligations under the ADA, including the designation of a responsible

employee and availability of grievance procedures.

         42.   Hurley’s violations of the ADA, Title II, have damaged Ms. Bennett

as set forth herein and below.


Count II – Section 504 of the Rehabilitation Act of 1973

         43.   Hurley’s discrimination against Ms. Bennett, as described herein, is

also in violation of Section 504 of the Rehabilitation Act of 1973, 29 USC § 701

et seq. (Section 504).

         44.   Section 504, in relevant part, prohibits discrimination against people

with disabilities in “programs and activities” that get federal funding.

         45.   Hurley is a program or entity within the ambit of Section 504, 29 USC

§ 794.

         46.   Ms. Bennett is a person with a disability as defined by Section 504,

29 USC § 705, sections (9) and (20).

         47.   Hurley is discriminating against Ms. Bennett in violation of Section

504, 29 USC § 794.



                                           12
Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.13 Filed 03/01/21 Page 13 of 15




      48.    Hurley’s discrimination has damaged Ms. Bennett as defined herein

and below.


Count III – Persons with Disabilities Civil Rights Act

      49.    Hurley’s discrimination against Ms. Bennett, as described herein, is

also in violation Michigan’s Persons With Disabilities Civil Rights Act, MCL §

37.1101 et seq. (the “PWDCRA”)

      50.    Ms. Bennett has a disability as defined by MCL § 37.1103.

      51.    Hurley is a place of public accommodation and/or a public service as

defined by § 37.1301.

      52.    Hurley is discriminating against Ms. Bennett in violation of Section

MCL 37.1302 (a).

      53.    Hurley’s discrimination has damaged Ms. Bennett as defined herein

and below.


                                    Damages

      54.    As a result of Hurley’s discriminatory practices, Ms. Bennett has

suffered stress and emotional distress, anxiety, annoyance and inconvenience,

interference with education and educational opportunities, and other non-economic

damages.




                                         13
Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.14 Filed 03/01/21 Page 14 of 15




      55.    Mia’s damages may be considerable even if she is neither failed nor

otherwise penalized for not completing her rotations. As these educational

opportunities are cumulative, she would be at a disadvantage in future rotations

and classes, and be at risk for suffering disadvantage for the nursing board and

employment opportunities.

      56.    Under the ADA and Section 504, an aggrieved person may be entitled

to compensatory damages, injunctive relief, and attorney fees; the same is true

under PWDCRA.


                                   Jury Demand

      Plaintiff demands a trial by jury on all issues so triable.


                                 Relief Requested

      W H E R E F O R E Mia Bennett requests this honorable court grant her

the following as permitted by law and equity:

      a.     compensatory damages;

      b.     equitable and/or injunctive relief;

      c.     compensable costs, interest, and reasonable attorney fees;

      d.     any other relief as permitted under the law to vindicate her rights as a

person with a disability.




                                          14
Case 2:21-cv-10471-PDB-DRG ECF No. 1, PageID.15 Filed 03/01/21 Page 15 of 15




                                          Respectfully submitted,

                                          Attorneys for Mia Bennett
                                          NACHT & ROUMEL, P.C.




March 1, 2021                             Nicholas Roumel




                                     15
